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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 MICHAEL FELDKAMP,

            Plaintiff,

            v.                                              Case No. 2:24-CV-02220-JAR-TJJ

 UNIVERSITY OF KANSAS HOSPITAL
 AUTHORITY,

            Defendant.


                                MEMORANDUM AND ORDER

       Plaintiff Michael Feldkamp filed this removal action against his former employer,

Defendant University of Kansas Hospital Authority, alleging that Defendant discriminated

against him on the basis of his age and retaliated against him for reporting concerns regarding the

safety of some equipment used by employees and patients. This matter is now before the Court

on Defendant’s Partial Motion to Dismiss Count II of Plaintiff’s First Amended Complaint (Doc.

23) for failure to state a claim under Fed. R. Civ. P. 12(b)(6). The motion is fully briefed, and

the Court is prepared to rule. For the reasons stated below, the Court grants Defendant’s motion.

However, as discussed below, the Court grants Plaintiff leave to amend his First Amended

Complaint to cure the pleading deficiencies explained below.

       I.        Legal Standard

       Fed. R. Civ. P. 12(b)(6) provides for dismissal for failure to state a claim upon which

relief can be granted. To survive a motion to dismiss brought under Fed. R. Civ. P. 12(b)(6), a

complaint must contain factual allegations that, assumed to be true, “raise a right to relief above
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the speculative level”1 and include “enough facts to state a claim to relief that is plausible on its

face.”2 The plausibility standard does not require a showing of probability that “a defendant has

acted unlawfully,” but requires more than “a sheer possibility.”3 “[M]ere ‘labels and

conclusions,’ and ‘a formulaic recitation of the elements of a cause of action’ will not suffice; a

plaintiff must offer specific factual allegations to support each claim.”4 The Court must accept

the nonmoving party’s factual allegations as true and may not dismiss on the ground that it

appears unlikely the allegations can be proven.5

         II.         Background

         The following facts are derived from Plaintiff’s First Amended Complaint. Plaintiff is 65

years of age and was employed by Defendant for over 30 years. His most recent 22 years of

employment with Defendant was as a Nuclear Medicine Program Director in Cardiology.

         Plaintiff maintains that despite serving Defendant in a highly appropriate and productive

manner, his supervision spoke about him behind his back, micromanaged his work, blamed him

for false occurrences, and continued to confront and question his ability to effectively perform

his job duties, while younger, similarly situated co-workers were not subjected to the same

treatment. Additionally, while employed by Defendant, Plaintiff became aware of several

malfunctioning or broken treadmills that would abruptly cease operation while employees and

patients exercised on them. According to Plaintiff, these malfunctions were known by




         1
          Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citing 5C Charles Alan Wright & Arthur R. Miller,
Federal Practice and Procedure § 1216, at 235–36 (3d ed. 2004)).
         2
             Id. at 570.
         3
             Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556).
         4
             Kan. Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1214 (10th Cir. 2011) (quoting Twombly, 550 U.S. at
555).
         5
             Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).




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Defendant’s supervision and medical professionals to cause serious injuries. Plaintiff informed

supervision, including the risk manager and CEO, of the malfunctioning equipment and made

multiple requests to resolve the issues. However, Plaintiff claims that Defendant denied him the

right to remedy these issues. Further, Plaintiff claims that he was discriminated against, bullied,

harassed, and classified as an “older manager” by Defendant as a direct result of his voiced

concerns and reports regarding the malfunctioning equipment and because of his age. On or

about January 5, 2023, Defendant terminated Plaintiff’s employment, which, Plaintiff contends,

was also a direct result of his age and voiced concerns regarding the malfunctioning equipment.

       On March 27, 2024, Plaintiff filed suit against Defendant in the Wyandotte County

District Court in Wyandotte County, Kansas alleging that Defendant discriminated against him

in violation of the Age Discrimination in Employment Act, retaliated against him in violation of

Kansas public policy, and wrongfully terminated his employment in violation of K.S.A. § 65-

4928. Defendant timely removed the action to this Court on May 28, 2024. Plaintiff filed his

First Amended Complaint in this Court on July 22, 2024.

       III.    Discussion

       In Count II of his First Amended Complaint, Plaintiff claims that Defendant retaliated

against him in violation of Kansas public policy. Defendant argues that this Count should be

dismissed because it is precluded by Plaintiff’s claim in Count III—wrongful termination in

violation of K.S.A. § 65-4928. In response, Plaintiff argues that Count II should survive

Defendant’s motion to dismiss because K.S.A. § 65-4928 does not provide an adequate

alternative remedy and because his voiced concerns and reports implicated, in addition to patient

safety, workplace safety which would not be precluded by K.S.A. § 65-4928. The Court agrees




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with Defendant and thus dismisses Count II of Plaintiff’s First Amended Complaint. However,

the Court grants Plaintiff leave to amend.

         Kansas is an at-will employment jurisdiction, meaning that absent an express or implied

contractual agreement, an employer is free to terminate employment at will.6 The Kansas

Supreme Court, however, has recognized a public policy exception to the at-will employment

doctrine for retaliatory discharge.7 But the public policy exception is unnecessary when a

plaintiff is already protected by a statutory remedy because the statutory remedy will adequately

address the state’s public policy concern.8 Thus, under the adequate alternative remedies

doctrine, if an adequate federal or state remedy is available, the public policy claim under Kansas

common law is precluded.9 Therefore, to state a plausible claim for retaliatory discharge under

Kansas common law, a plaintiff must not only present factual allegations showing conduct that

violates public policy, but the plaintiff also must have no adequate remedy under federal or state

statutory law.10

         Here, Plaintiff claims that Defendant retaliated against him for reporting his concerns

regarding malfunctioning equipment used by patients and employees. Plaintiff contends that he

was protected from retaliation by K.S.A. § 65-4928, which prohibits retaliation against

employees for their compliance with the Kansas Risk Management Act. Indeed, Count III of

Plaintiff’s First Amended Complaint alleges that Defendant wrongfully terminated him in




         6
           Flenker v. Williamette Indus., Inc., 967 P.2d 295, 298 (Kan. 1998) (citing Johnston v. Farmers All. Mut.
Ins. Co., 545 P.2d 312, 315 (Kan. 1976)).
         7
             Id.
         8
          See Conner v. Schnuck Mkts., Inc., 906 F. Supp. 606, 615 (D. Kan. 1995) (citing Polson v. Davis, 895
F.2d 705, 709–10 (10th Cir. 1990)).
         9
             Id.
         10
              Id.




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violation of K.S.A. § 65-4928. Defendant correctly argues that the Kansas Risk Management

Act serves as an adequate alternative statutory remedy to Kansas common law retaliation claims

based on reports concerning patient safety.11 Specifically, the Act “gives an employee full

authority to decide whether to pursue a cause of action in the state courts, while applying the

same procedural rules as a common-law cause of action” and “expands the common-law

remedy.”12

         Further, the Court agrees with Defendant that workplace safety and Flenker v.

Williamette Industries, Inc.13 are not implicated under the facts as alleged by Plaintiff in his First

Amended Complaint. In Flenker, the Kansas Supreme Court held that OSHA did not provide an

adequate alternative statutory remedy to a common law retaliation claim based on reports

concerning workplace safety.14 However, Plaintiff’s First Amended Complaint has not

sufficiently alleged how Plaintiff’s reports concerned workplace safety (rather than patient

safety). Nor has Plaintiff alleged that, like the plaintiff in Flenker, he ever raised an OSHA

complaint with a supervisor. He does not, for example, allege that he informed a supervisor that

he had filed—or even intended to file—an OSHA complaint or that the Occupational Safety and

Health Administration investigated the complaint. Finally, Plaintiff’s allegation that Defendant

violated “federal and/or state mandates governing the provision of safe workplaces” 15 is


         11
             See Anglemyer v. Hamilton Cnty. Hosp., 848 F. Supp. 938, 940 (D. Kan. 1994) (“[The Kansas Risk
Management Act] provides plaintiff with an adequate remedy if it is determined that the defendants terminated her
in retaliation for her compliance with her duties under the statute. Therefore, plaintiff does not state a claim for
retaliatory discharge under Kansas common law.”); Goodman v. Wesley Med. Ctr., L.L.C., 78 P.3d 817, 824 (Kan.
2003) (“Because K.S.A. 65-4928 enhances rather than restricts the common-law remedy, it provides an adequate
statutory remedy and precludes common-law retaliatory discharge claims for reporting standard of care issues in
medical care facilities.”).
         12
              Goodman, 78 P.3d at 824.
         13
              967 P.2d 295 (Kan. 1998).
         14
              Id. at 301–02.
         15
              Doc. 17 ¶ 19.




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insufficient to state a claim for common law retaliation based on reports concerning workplace

safety. “A whistleblowing claim under this tort ‘must be based on violations of specific and

definite rules, regulations, or laws.’”16 Plaintiff’s allegation about “federal and/or state

mandates” is anything but specific and definite. Thus, Count II of Plaintiff’s First Amended

Complaint is dismissed.

        In his response to Defendant’s motion to dismiss Count II, Plaintiff requested that he be

granted leave to file “a more definitive statement.”17 The Court will treat this as a request for

leave to amend. However, D. Kan. Rule 15.1 provides that a party seeking leave to amend must

“set forth a concise statement of the amendment . . . sought” and “attach the proposed

pleading.”18 Although the Court should “freely give leave when justice so requires,”19 Plaintiff

has not met the foregoing requirements and the Tenth Circuit has held that such cursory requests

for leave to amend are not sufficient.20

        Nonetheless—out of an abundance of caution and in the interest of deciding this case on

its merits—the Court will permit Plaintiff until February 12, 2025, to file a motion for leave to

amend his claim for retaliation in violation of Kansas public policy. Otherwise, that claim is

dismissed.

        IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Partial Motion to

Dismiss Count II of Plaintiff’s First Amended Complaint (Doc. 23) is granted.




        16
          Ross v. Pentair Flow Techs., Inc., No. 19-2690-SAC, 2020 WL 1028304, at *11 (D. Kan. Mar. 3, 2020)
(quoting Goodman, 78 P.3d at 822).
        17
             Doc. 28 at 5 n.1.
        18
             D. Kan. R. 15.1(a)(1)–(2).
        19
             Fed. R. Civ. P. 15(a)(2).
         20
            See Bangerter v. Roach, 467 F. App’x 787, 789 (10th Cir. 2012); Garman v. Campbell Cnty. Sch. Dist.
No. 1, 630 F.3d 977, 986 (10th Cir. 2010).




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       IT IS FURTHER ORDERED BY THE COURT that Plaintiff shall have until February

12, 2025, to file a second amended complaint to amend his claim for retaliation in violation of

Kansas public policy.

       IT IS SO ORDERED.

       Dated: January 29, 2025

                                                    S/ Julie A. Robinson
                                                    JULIE A. ROBINSON
                                                    UNITED STATES DISTRICT JUDGE




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